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 7                        UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
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10   Bryce Abbink, individually and on
     behalf of all others similarly situated,
11                                              Case No. 8:19-cv-01257-JFW-PJWx
12                              Plaintiff,
     v.                                         FINAL JUDGMENT
13

14   Experian Information Solutions, Inc., Judge: Hon. John F. Walter
     an Ohio corporation, Lend Tech         Complaint filed: June 21, 2019
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     Loans, Inc., a California corporation,
16   and Unified Document Services, LLC,
     a California Limited Liability
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     Company,
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                                Defendants.
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 1            On December 5, 2019, this Court granted Defendant Experian Information
 2   Solutions, Inc.’s (“Experian”) Motion to Dismiss. (Dkt. 52.) On January 29, 2020,
 3   this Court granted Plaintiff Bryce Abbink’s (“Plaintiff”) Motion for Default
 4   Judgment Against Lend Tech Loans, Inc. (“Lend Tech”) and Plaintiff’s Motion for
 5   Default Judgment Against Unified Document Services, LLC (“UDS”).
 6            Accordingly, the Court hereby ORDERS as follows:
 7        1. The Court enters JUDGMENT against Plaintiff and in favor of Experian
 8            with respect to Counts I & II of the Complaint. Pursuant to the Court’s
 9            December 5, 2019 Order, the Complaint is dismissed with prejudice with
10            respect to the claims asserted against Experian.
11        2. The Court enters JUDGMENT in favor of Plaintiff and against Lend Tech
12            with respect to Count III of the Complaint. Pursuant to the Court’s January
13            29, 2020 Order (dkt. 71), Lend Tech is ORDERED to pay $2,000 in
14            damages to Plaintiff and $400 in attorneys’ fees to Plaintiff’s counsel.
15        3. The Court enters JUDGMENT in favor of Plaintiff and against UDS with
16            respect to Count IV of the Complaint.1 Pursuant to the Court’s January 29,
17            2020 Order (dkt. 71), UDS is ORDERED to pay $1,000 in damages to
18            Plaintiff and $300 in attorneys’ fees to Plaintiff’s counsel.
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     IT IS SO ORDERED.
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23   Dated: February 6, 2020
                                                   Hon. John F. Walter
24                                                 United States District Judge
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         Plaintiff abandoned Count V of his Complaint. (See Dkt. 64 at 7.)
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                                         [Proposed] Final Judgment
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